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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DEBRA FRAZIER, et al.                                CIVIL ACTION
                                                     DOCKET NO.: 2:17-cv-05421
                       Plaintiffs
                 v.

CITY OF PHILADELPHIA, et al.                         JURY TRIAL OF TWELVE (12)
                                                     JURORS DEMANDED
                       Defendants.


                                         STIPULATION

       AND NOW this 12th day of February, 2018, it is hereby STIPULATED and AGREED,

by and between the parties, through their undersigned counsel, that Plaintiffs' deadline to

respond/amend to the Motion to Dismiss Plaintiffs Complaint filed by defendants, is enlarged to

expire on Tuesday, February 27, 2018.

· ls/Matthew B. Weisberg                         /sf Christopher Rider (with permission)
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       AND IT IS SO ORDERED.

                                                                                    J.
